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              IN THE UNITED STATES DISTRICT COURT
          FOR THE DISTRICT OF UTAH, NORTHERN DIVISION

 EAGLE VIEW TECHNOLOGIES,
 INC., and PICTOMETRY                               COMPLAINT
 INTERNATIONAL CORP.,                        AND DEMAND FOR JURY TRIAL

              Plaintiffs,

 v.                                                 Case No. ____________
                                                   Judge _________________
 NEARMAP US, INC.,

              Defendant.




       Plaintiffs Eagle View Technologies, Inc. (“EagleView”) and Pictometry

International Corp. (“Pictometry”) (collectively, “Plaintiffs”), by their undersigned

attorneys, for their Complaint against Defendant Nearmap US, Inc. (“Nearmap” or

“Defendant”), hereby allege as follows:



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                              NATURE OF ACTION

      1.     This is an action for patent infringement. Over the course of more than

a decade, Plaintiffs have developed technologies and products that produce aerial

roof reports that are extremely accurate and detailed. These reports are used, inter

alia, to estimate the costs of roof repairs, construction, and insurance. Plaintiffs are

market leaders in providing technologies relating to such reports in the construction,

government, solar, and insurance markets.          Nearmap directly competes with

Plaintiffs, including in at least the construction, government, insurance, and solar

markets, with at least rooftop aerial measurement products, including (1) Nearmap

on OpenSolar and (2) MapBrowser (collectively, “Accused Products”).

      2.     Plaintiffs EagleView and Pictometry now bring this action to halt

Nearmap’s infringement of eight (8) patents, and obtain other relief as necessary.

As more fully described below, Nearmap infringes each of United States Patent Nos.

8,209,152; 8,542,880; 8,593,518; 8,670,961; 9,135,737; 9,514,568; 10,528,960; and

10,685,149 (collectively, “Patents-in-Suit”) in connection with the Accused

Products.

                                   THE PARTIES

      3.     Plaintiff Eagle View Technologies, Inc. is a corporation organized and

existing under the laws of the State of Washington, having a principal place of



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business at 25 Methodist Hill Drive, Rochester, NY 14623. EagleView launched in

2008, and was the first remote aerial roof measurement service. EagleView has

developed and continues to develop products and technologies that produce aerial

roof and wall measurement reports. These reports are used, inter alia, to estimate

the costs of roof repairs, construction, and insurance. EagleView’s roof reports are

used by a wide range of organizations, large and small, across a number of industries,

including the government, construction, insurance, and solar industries.

      4.     Plaintiff Pictometry International Corp. is a corporation organized and

existing under the laws of the State of Delaware, having a principal place of business

at 25 Methodist Hill Drive, Rochester, NY 14623. Pictometry, which was founded

in 1996, is an innovator of, among other things, aerial oblique image capture and

processing technologies.

      5.     In January 2013, a merger between EagleView and Pictometry resulted

in the creation of a new company called EagleView Technology Corporation

(“EVT”), which is comprised of EagleView and Pictometry.

      6.     Defendant Nearmap is a corporation organized and existing under the

laws of the State of Delaware, having a regular and established place of business at

10897 S. River Front Pkwy, Suite 150, South Jordan, Utah 84095. Nearmap directly

competes with EagleView and Pictometry including in the construction, insurance,


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and solar markets, with at least the Accused Products.

                                  PATENTS-IN-SUIT

      7.        EagleView is the owner of the entire right, title, and interest in and to

United States Patent No. 8,209,152 (the “’152 Patent”), entitled “Concurrent Display

Systems and Methods for Aerial Roof Estimation,” which was issued by the USPTO

on June 26, 2012. A true and correct copy of the ’152 Patent is attached hereto as

Exhibit 1.

      8.        The ’152 Patent was subject to an inter partes review (IPR2016-00591),

after which Claims 2, 4, 5, 7, 8, 10, 11, 15, 17, 18, 20, 21, 24, and 25 remain valid

and enforceable. The ’152 Patent was also subject to another inter partes review

(IPR2017-00034) in which institution was denied.

      9.        Pictometry is the owner of the entire right, title, and interest in and to

United States Patent No. 8,542,880 (the “’880 Patent”), entitled “System and Process

for Roof Measurement Using Aerial Imagery,” which was issued by the USPTO on

September 24, 2013. A true and correct copy of the ’880 Patent is attached hereto

as Exhibit 2.

      10.       The ’880 Patent was subject to an inter partes review (IPR2016-00594)

in which claims 1–10 and 13–20 were instituted upon but remained valid and

enforceable. Thus, all claims of the ’880 Patent are valid and enforceable.



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      11.       Pictometry is the owner of the entire right, title, and interest in and to

United States Patent No. 8,593,518 (the “’518 Patent”), entitled “Computer System

for Continuous Oblique Panning,” which was issued by the USPTO on November

26, 2013. A true and correct copy of the ’518 Patent is attached hereto as Exhibit 3.

      12.       All claims of the ’518 Patent are valid and enforceable.

      13.       EagleView is the owner of the entire right, title, and interest in and to

United States Patent No. 8,670,961 (the “’961 Patent”), entitled “Aerial Roof

Estimation Systems and Methods,” which was issued by the USPTO on March 11,

2014. A true and correct copy of the ’961 Patent is attached hereto as Exhibit 4.

      14.       All claims of the ’961 Patent are valid and enforceable.

      15.       EagleView is the owner of the entire right, title, and interest in and to

United States Patent No. 9,135,737 (the “’737 Patent”), entitled “Concurrent Display

Systems and Methods for Aerial Roof Estimation,” which was issued by the USPTO

on September 15, 2015. A true and correct copy of the ’737 Patent is attached hereto

as Exhibit 5.

      16.       The ’737 Patent was subject to an inter partes review (IPR2016-00592)

in which claims 1, 9, 10, 16, 19, 22, 25‒28, 31, and 34‒36 were instituted upon but

remained valid and enforceable. Thus, all claims of the ’737 Patent are valid and

enforceable.


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      17.    EagleView is the owner of the entire right, title, and interest in and to

United States Patent No. 9,514,568 (the “’568 Patent”), entitled “Aerial Roof

Estimation Systems and Methods,” which was issued by the USPTO on December

6, 2016. A true and correct copy of the ’568 Patent is attached hereto as Exhibit 6.

      18.    All claims of the ’568 Patent are valid and enforceable.

      19.    EagleView is the owner of the entire right, title, and interest in and to

United States Patent No. 10,528,960 (the “’960 Patent”), entitled “Aerial Roof

Estimation Systems and Methods,” which was issued by the USPTO on January 7,

2020. A true and correct copy of the ’960 Patent is attached hereto as Exhibit 7.

      20.    All claims of the ’960 Patent are valid and enforceable.

      21.    EagleView is the owner of the entire right, title, and interest in and to

United States Patent No. 10,685,149 (the “’149 Patent”), entitled “Pitch

Determination Systems and Methods for Aerial Roof Estimation,” which was issued

by the USPTO on June 16, 2020. A true and correct copy of the ’149 Patent is

attached hereto as Exhibit 8.

      22.    All claims of the ’149 Patent are valid and enforceable.

      23.    The Patents-in-Suit are directed to specific concrete improvements in

roof-estimation technology that, among other things, rely on unconventional

correlations of non-stereoscopic images to generate roof reports with accurate


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information concerning a roof.      Before EagleView’s inventions, repairing or

replacing a roof typically entailed asking roofing contractors to visit the house to

determine the style of roof, take measurements, and to inspect the area around the

house for access and cleanup before preparing a written estimate. By contrast,

EagleView’s Patents-in-Suit solve the specific problem of generating a roof repair

estimate without direct human measurement of a roof using, inter alia, concrete and

specific technological solution of a computer’s correlating, with or without user

input, different location points on two, different, non-stereoscopic aerial views and

then generating a roof report including accurate information concerning the real-

world roof.

      24.     For example, all Patents-in-Suit claim using specific, tangible inputs

that are, in no way, required by merely using a computer, including multiple aerial

images that are taken from different angles and in some cases, at different times.

There are countless other ways one could try to develop a roof measuring system

other than using EagleView’s patented selection of images, but Nearmap has chosen

to use EagleView’s patented ways.

      25.     The Patents-in-Suit also use specific, tangible methods of analyzing

those inputs. For example, the ’568 Patent teaches improving a computer system by

“calibrating” and “correlating” multiple aerial images by, inter alia, “registering


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pairs of points” on both aerial images that “correspond[] to a same point on the roof

depicted in” each of the images, which is then used to “generate” a “three-

dimensional model of the roof,” and subsequently output a tangible “roof estimate

report” that includes measurements of the roof. Likewise, the ’960 Patent improves

a computer system to “calibrate” those two different images, including by

“identifying common reference points depicted” in the images and using that

correlation and/or calibration to “convert a distance in pixels... into a physical

length,” which is likewise used to generate the tangible “roof [estimate] report.”

Similarly, the ’961 Patent improves a computer system that “calibrate[s]” and

“analy[zes]” those two different images and generates a “pitch for each one of a

plurality of roof sections” based on that analysis, which is ultimately used to output

the tangible “roof report” that “includes the pitch of each of the plurality of roof

sections.”

      26.    The Patents-in-Suit also use adjustments to claimed points, markers,

and lines overlaid on 2D images of roofs to display, process, and generate 3D models

and roof-estimate reports more efficiently and accurately than was possible using

conventional procedures. Indeed, many of the Patents-in-Suit require specific

adjustments to a model of the roof, claiming interactive tools through which the user

makes specific selections and determinations that results in a practical, useful result.


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For example, the ’152 Patent requires “receiving an indication of a feature of the

[roof],” and then based on that indication, “modifying a three-dimensional model.”

Others, such as the ’880 Patent, require the manipulation of “visual marker[s],”

which are used to allow a computer system to identify specific, real-world “attributes

of a roof structure.”   The ’152 and ’737 Patents further require overlaying “line

drawings” in a user interface, which the user can manipulate to indicate specific real-

world “feature[s] of the roof” in selected aerial images, which are then used to

ultimately calculate the real-world measurements for that roof. And still others, such

as the ’149 Patent, “receiv[e], based on alignment of the displayed interactive user

interface control,” an indication from the user of the pitch of a roof section, which is

then subsequently used to “modify a model” of the real-world roof and generate

measurements. Similarly, the ’518 Patent describes displaying partially overlapping

images, whereby detection of a “transition event” that is “triggered by a user”

modifies the display, and the images’ pixel coordinates are translated into location

coordinates.

      27.      The Patents-in-Suit, including the ’152, ’961, ’737, ’568, ’960, and

’149 Patents, also output a tangible “roof estimate report,” including roof reports that

include, inter alia, “one or more top plan views,” and are “annotated” in a number

of ways, including with “numerical values that indicate a corresponding pitch,” and


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the “length of edges of at least some of the plurality of roof sections using at least

two different indicia for different types of roof properties.”

      28.    Developing a system that uses the specific images and methods covered

by the Patents-in-Suit—as opposed to the countless other ways one could try to

develop a roof measuring system—is neither abstract, nor in any way preempts the

field of roof measuring. Instead, the Patents-in-Suit cover specific and concrete

processes that achieve the highest echelon of accuracy, which could not be

accomplished manually and without using EagleView’s inventive concepts.

      29.    EagleView’s technology was undeniably inventive, revolutionary, and

critical to this industry. After a multi-week trial, a federal court in the District of

New Jersey concluded that “the evidence at trial revealed that EagleView’s patented

technology revolutionized the roofing industry” and “obviated the need for manual

measurements of roofs with a tape measure in order to estimate the cost of repairing

a roof.” See Ex. 9 at 7. The Court concluded that there were “at least three clear

advantages” to EagleView’s patented technology, which included patents related to

many of the Patents-in-Suit, including “improved safety,” “decreased measurement

time,” and, “perhaps most importantly, increased accuracy.” Id. There can be no

doubt that this technology was critical to the industry, as even the Court concluded

that “[t]he evidence regarding this breakthrough was overwhelming.” Id.


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      30.    Some of that “overwhelming” evidence included praise of the

technologies of the EagleView asserted patents by Verisk and Xactware, two of the

former competitive leaders in this space, who noted that EagleView’s technology

was “cutting-edge,” “very accurate,” “innovative,” “a breakthrough,” and was unlike

“anything that [previously] emerged as possible.” Id at 7-8.

      31.    Other evidence included press contemporaneous with EagleView’s

launch, including a CNN Money article titled “One small company reinvents a $30

billion market,” which noted that “EagleView founder Chris Pershing changed how

the roofing industry operates with a software breakthrough.” See Ex. 10.

      32.    Likewise, the California Business Journal wrote about EagleView’s

launch, noting that “EagleView made one of the biggest breakthroughs in the history

of the industry by creating a state-of-the-art software program that remotely snaps

sophisticated aerial pictures of roofs and accurately measures lengths, pitches,

valleys, and other hard-to-see areas on roofs.” See Ex. 11.

                         JURISDICTION AND VENUE

      33.    This is an action for patent infringement arising under the provisions of

the Patent Laws of the United States of America, Title 35, United States Code.

      34.    Subject matter jurisdiction over Plaintiffs’ claims is conferred upon this

Court by 28 U.S.C. §§ 1331 and 1338(a).



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       35.    This Court has personal jurisdiction over Nearmap because, inter alia,

Nearmap: (1) has substantial, continuous, and systematic contacts with this State;

(2) has solicited business in, transacted business within, and attempted to derive

financial benefit from residents of Utah, on a substantial and not isolated basis; (3)

has committed and continues to commit purposeful actions in this State that infringe

the Patents- in-Suit; (4) enjoys substantial income from such infringement in this

State; and (5) maintains a regular and established place of business in this State,

including by maintaining employees in this State. For example, Nearmap’s website

lists its South Jordan, Utah office on its “Contact Us” webpage. See, e.g., Ex. 25.

       36.   Venue is proper in this Court under 28 U.S.C. §§ 1391 and 1400(b)

because Nearmap maintains a regular and established place of business in this

District, has committed acts of infringement in this District, and is subject to

personal jurisdiction in this District.

   COUNT I - INFRINGEMENT OF THE ’152 PATENT BY NEARMAP

       37.   Plaintiffs reallege paragraphs 1-36 as if fully set forth herein.

       38.   The USPTO duly and legally issued the ’152 Patent on June 26, 2012.

       39.   Nearmap has directly and indirectly infringed and continues to directly

and indirectly infringe the ’152 Patent, in connection with rooftop aerial

measurement products, including but not limited to the Accused Products.



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       40.    Nearmap makes and uses rooftop aerial measurement products,

including but not limited to the Accused Products, within the United States, and as

such, Nearmap has directly infringed and continues to directly infringe, either

literally or under the doctrine of equivalents, at least one claim of the ’152 Patent

under one or more subsections of 35 U.S.C. § 271, including § 271(a).

       41.    Exemplary claim 10 of the ’152 Patent, which depends from Claim 1,

recites:

           The method of claim 1 further comprising:

           displaying a marker operable to specify a point on an image;

         receiving, via the marker, an indication of a point on the first aerial
       image; and

         registering, based on the received indication of the point, the aerial
       image to a reference grid corresponding to the three-dimensional model.

       42.    Claim 1 of the ’152 Patent recites:

          A computer-implemented method for generating a roof estimate
       report, the method comprising:

          displaying a first and a second aerial image of a building having a roof,
       each of the aerial images providing a different view of the roof of the
       building;

          receiving an indication of a feature of the building shown in the first
       aerial image;

          modifying a three-dimensional model of the roof based on the received
       indication of the feature of the building; and

           displaying a projection of the feature from the modified three-

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      dimensional model onto the first and second aerial images as a line
      drawing of the feature, each overlaid on corresponding locations of the
      feature on the first and second aerial images.

      43.     Nearmap’s Accused Products infringe at least claim 10 of the ’152

Patent, including by Nearmap’s use of the Accused Products to perform the claimed

methods. As one example, Nearmap on OpenSolar infringes claim 10. Nearmap on

OpenSolar provides a computer-implemented method for generating a roof estimate

report. For example, as shown in the YouTube tutorial for Nearmap on OpenSolar,

the method of generating a roof report is computer implemented:




See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar).

      44.     Nearmap on OpenSolar generates a roof estimate report, called a

“proposal”:




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See https://www.nearmap.com/content/dam/nearmap/video/nearmap-on-

opensolar/announcing-nearmap-on-opensolar.mp4.

      45.    Nearmap on OpenSolar displays a first and a second aerial image of a

building having a roof, each of the aerial images providing a different view of the

roof of the building. For example, Nearmap on OpenSolar displays a top down

(vertical) view of the house in the first screenshot below, and users can also access

oblique images, as shown in the second screenshot below depicting North, East,

South, and West oblique views at the bottom and left of the screen:




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See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar).
      46.   Nearmap on OpenSolar receives an indication of a feature of the

building shown in the first image, and modifies a three-dimensional model of the

roof based on the received indication of the feature of the building. For example,

Nearmap on OpenSolar displays line drawings representing features of the roof on




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the first and second aerial images, and instructs a user to “outline your roof and set

edge types” in the first (vertical) image:




See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar).
      47.    Nearmap on OpenSolar then displays line drawings representing

features of the roof on the second aerial image, and instructs a user to “align map



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and roof edges in the oblique view” in the second (oblique) image:




See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar).
      48.   When a user toggles between different views of the same roof, the

wireframe has corresponding changes to changes made to the wireframe while in a

different view. Thus, Nearmap on OpenSolar displays a projection of the feature

from the modified three-dimensional model onto the first and second aerial images

as a line drawing of the feature, each overlaid on corresponding locations of the

feature on the first and second aerial images, as shown above.

      49.   Nearmap on OpenSolar also displays a marker operable to specify a

point on an image. For example, the purple points allowing a user to specify and

indicate the corners in the aerial image, and/or the yellow line allowing a user to




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specify the ridge line of the roof, are the marker:




See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar).

      50.    Nearmap on OpenSolar receives, via the marker, and indication of a

point on the first aerial image and registers, based on the received indication of the

point, the aerial image to a reference grid corresponding to the three-dimensional

model. For example, based on the received indication of the point (e.g., a point

showing a corner or a line showing pitch), Nearmap on OpenSolar registers the aerial

images to a reference grid corresponding to the 3D model:




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See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar) at

3:24-28.

      51.    Nearmap on OpenSolar uses Nearmap’s vertical and oblique aerial

images. These images are captured using the georeferencing technique described

below, whereby georeferencing of aerial images further facilitates registering them

to a reference grid:




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See Ex. 12.

      52.     On information and belief, Nearmap has had knowledge of the ’152

Patent since at least as early July 2, 2019, when it submitted an Information

Disclosure Statement (IDS) identifying the ’152 Patent to the USPTO during the

prosecution of its own U.S. Patent Application No. 16/136,585. See Ex. 13. On

information and belief, Nearmap has had additional knowledge of the ’152 Patent

prior the filing of the instant complaint because the ’152 Patent is identified on

EagleView’s website and roof reports as covering EagleView’s technology and roof

reports. Nearmap’s product is remarkably similar to, and appears to have been

copied from, EagleView’s technology and roof reports, confirming that Nearmap

monitors EagleView’s website, products, roof reports, and patents. See, e.g., Ex. 26.

      53.     Additionally, Nearmap would have been aware of the substantial press



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coverage of EagleView’s patent portfolio as it relates to roof reports, which includes

the ’152 Patent, in light of EagleView’s recent successful litigation against Xactware

Solutions, Inc. and Verisk Analytics, Inc. in the District of New Jersey. See, e.g.,

Ex. 27.

      54.    In addition to directly infringing the ’152 Patent, Nearmap has in the

past and continues to indirectly infringe the ’152 Patent by inducing direct

infringement by others, such as end users of rooftop aerial measurement products,

including but not limited to the Accused Products. As set forth above, Nearmap

knew or should have known that use of rooftop aerial measurement products,

including but not limited to the Accused Products, by its end users infringes at least

one claim of the ’152 Patent prior to the filing of the instant complaint. Nearmap

knowingly induced such use of those products in a manner that infringes the ’152

Patent, including through at least promotional, advertising, and instructional

materials, and Nearmap had the requisite intent to encourage such infringement. As

such, Nearmap has indirectly infringed and continues to indirectly infringe at least

one claim of the ’152 Patent under one or more subsections of 35 U.S.C. § 271,

including § 271(b).

      55.    Nearmap’s infringement of the ’152 Patent has been and continues to

be willful. Nearmap has acted with knowledge of the ’152 Patent and without a


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reasonable basis for a good-faith belief that it would not be liable for infringement

of the ’152 Patent. For example, subsequent to learning of the ’152 Patent, Nearmap

continued to make and use rooftop aerial measurement products, including but not

limited to the Accused Products, within the United States in a manner that infringes

the ’152 Patent.       Nearmap has disregarded and continues to disregard its

infringement and/or an objectively high likelihood that its actions constitute

infringement of the ’152 Patent. This objectively-defined risk was known or is so

obvious that it should have been known to Nearmap. Nearmap’s infringement of the

’152 Patent has been and continues to be willful, entitling EagleView to enhanced

damages under 35 U.S.C. § 284.

         56.   Nearmap’s acts of infringement have caused damage to EagleView, and

EagleView is entitled to recover from Nearmap the damages sustained by

EagleView as a result of Nearmap’s wrongful acts in an amount subject to proof at

trial.

         57.   Nearmap’s acts of infringement have caused, and unless restrained and

enjoined, will continue to cause, irreparable injury and damage to EagleView for

which there is no adequate remedy at law.

         58.   This case is exceptional, entitling EagleView to an award of attorneys’

fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.


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   COUNT II - INFRINGEMENT OF THE ’880 PATENT BY NEARMAP

        59.   Plaintiffs reallege paragraphs 1-58 as if fully set forth herein.

        60.   The USPTO duly and legally issued the ’880 Patent on September 24,

2013.

        61.   Nearmap has directly and indirectly infringed and continues to directly

and indirectly infringe the ’880 Patent, in connection with rooftop aerial

measurement products, including but not limited to the Accused Products.

        62.   Nearmap makes and uses rooftop aerial measurement products,

including but not limited to the Accused Products, within the United States, and as

such, Nearmap has directly infringed and continues to directly infringe, either

literally or under the doctrine of equivalents, at least one claim of the ’880 Patent

under one or more subsections of 35 U.S.C. § 271, including § 271(a).

        63.   Claim 1 of the ’880 Patent recites:

           A process for determining attributes of a roof structure of a real-world
        three-dimensional building, comprising the acts of:

           providing at least one computer input field for a user to input first
        location data generally corresponding to the location of the building;

            providing visual access to an aerial image of a region including the
        roof structure of the building corresponding to said first location data,
        the aerial image taken from a straight down overhead view with respect
        to the roof structure;

          on the aerial image of the region, providing a visual marker that is
        moveable on a computer monitor around said region, said visual marker

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      initially corresponding to said first location data, wherein said visual
      marker may be moved to a final location on top of the building to more
      precisely identify the location of the building roof structure, the final
      location having location coordinates;

         providing a computer input capable of signaling user-acceptance of
      the final location of said marker; and,

         providing visual access to one or more oblique images of an aerial
      imagery database corresponding to location coordinates of the final
      location.

   64.       Nearmap’s Accused Products infringe at least claim 1 of the ’880
Patent. As one example, MapBrowser infringes claim 1.
   65.       MapBrowser implements a process for determining attributes of a roof
structure of a real-world three-dimensional building. For example, the screenshot
below, from a video titled “MapBrowser Tutorial - Part 2 - How to Measure with
Obliques,” depicts a process for determining attributes of a roof structure of a real-
world three-dimensional building:




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See https://www.youtube.com/watch?v=zMFjaQIci9s (MapBrowser).
   66.       MapBrowser provides at least one computer input field for a user to
input first location data generally corresponding to the location of the building, as
shown, for example, in the top left corners of the user interface, shown above, in
which a user has entered location information for the “Australian War Memorial.”
   67.       MapBrowser provides visual access to an aerial image of a region
including the roof structure corresponding to the first location data (e.g., address
entered by the user), and the aerial images is taken from a straight down overhead
view with respect to the roof structure (for example, a top down image is displayed
prior to a user clicking on “View Oblique Photos”):




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See https://www.youtube.com/watch?v=zMFjaQIci9s (MapBrowser).
   68.       MapBrowser provides a visual marker that is moveable on a computer
monitor around said region, said visual marker initially corresponding to said first
location data, wherein said visual marker may be moved to a final location on top of
the building to more precisely identify the location of the building roof structure, the
final location having location coordinates. For example, a user has the ability to
“drop a pin” and move it around, as shown in the video above, as well as in the
“MapBrowser Cheat Sheet” below:




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See Ex. 14.

   69.        MapBrowser provides a computer input capable of signaling user-
acceptance of the final location of said marker. For example, the computer input is
the ability for a user to click “Oblique Photos” in the lower right corner after the
marker is where they want it:




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See https://www.youtube.com/watch?v=zMFjaQIci9s
See https://www.youtube.com/watch?v=zMFjaQIci9s (MapBrowser).


            Using the location tool O, you can click on a location in the map and a drop pin will appear at
            the location 0. Information for the location will also be displayed in the Inspector Panel on the
            right O
            You can drop a location pin when viewing any base layer. Dropping a pin in 3D is a bit different
            from the other base layers, so be sure to read the instructions in this section: 3D Location Tool




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See Ex. 15 (MapBrowser).
      70.   MapBrowser provides visual access to one or more oblique images of

an aerial imagery database corresponding to location coordinates of the final

location. For example, after a user clicks on “Oblique Photos,” the user can view

the oblique photos of the address corresponding to the location coordinates of the

final location where the marker was placed:




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See https://www.youtube.com/watch?v=zMFjaQIci9s (MapBrowser).




See Ex. 15 (MapBrowser).
      71.   Nearmap explains that MapBrowser is “a web-based application for

searching and navigating Nearmap’s library of current and historical aerial photos.”

These photos accessible in MapBrowser include oblique images of an aerial imagery



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database corresponding to location coordinates of the final location:




See Ex. 16.

   72.        On information and belief, Nearmap has had knowledge of the ’880
Patent prior to the filing of the instant complaint, including because the ’880 Patent
is identified on EagleView’s website and roof reports as covering EagleView’s
technology and roof reports. Nearmap’s product is remarkably similar to, and
appears to have been copied from, EagleView’s technology and roof reports,
confirming that Nearmap monitors EagleView’s website, products, roof reports, and
patents. See, e.g., Ex. 26. Additionally, Nearmap would have been aware of the
substantial press coverage of EagleView’s patent portfolio as it relates to roof
reports, which includes the ’880 Patent, in light of EagleView’s recent successful
litigation against Xactware Solutions, Inc. and Verisk Analytics, Inc. in the District
of New Jersey. See, e.g., Ex. 27.
      73.     In addition to directly infringing the ’880 Patent, Nearmap has in the

past and continues to indirectly infringe the ’880 Patent by inducing direct

infringement by others, such as end users of rooftop aerial measurement products,

including but not limited to the Accused Products. As set forth above, Nearmap


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knew or should have known that use of rooftop aerial measurement products,

including but not limited to the Accused Products, by its end users infringes at least

one claim of the ’880 Patent prior to the filing of the instant complaint. Nearmap

knowingly induced such use of those products in a manner that infringes the ’880

Patent, including through at least promotional, advertising, and instructional

materials, and Nearmap had the requisite intent to encourage such infringement. As

such, Nearmap has indirectly infringed and continues to indirectly infringe at least

one claim of the ’880 Patent under one or more subsections of 35 U.S.C. § 271,

including § 271(b).

      74.    Nearmap’s infringement of the ’880 Patent has been and continues to

be willful. Nearmap has acted with knowledge of the ’880 Patent and without a

reasonable basis for a good-faith belief that it would not be liable for infringement

of the ’880 Patent. For example, subsequent to learning of the ’880 Patent, Nearmap

continued to make and use rooftop aerial measurement products, including but not

limited to the Accused Products, within the United States in a manner that infringes

the ’880 Patent.      Nearmap has disregarded and continues to disregard its

infringement and/or an objectively high likelihood that its actions constitute

infringement of the ’880 Patent. This objectively-defined risk was known or is so

obvious that it should have been known to Nearmap. Nearmap’s infringement of the


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’880 Patent has been and continues to be willful, entitling Pictometry to enhanced

damages under 35 U.S.C. § 284.

        75.   Nearmap’s acts of infringement have caused damage to Pictometry, and

Pictometry is entitled to recover from Nearmap the damages sustained by Pictometry

as a result of Nearmap’s wrongful acts in an amount subject to proof at trial.

        76.   Nearmap’s acts of infringement have caused, and unless restrained and

enjoined, will continue to cause, irreparable injury and damage to Pictometry for

which there is no adequate remedy at law.

        77.   This case is exceptional, entitling Pictometry to an award of attorneys’

fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

  COUNT III - INFRINGEMENT OF THE ’518 PATENT BY NEARMAP

        78.   Plaintiffs reallege paragraphs 1-77 as if fully set forth herein.

        79.   The USPTO duly and legally issued the ’518 Patent on November 26,

2013.

        80.   Nearmap has directly and indirectly infringed and continues to directly

and indirectly infringe the ’518 Patent, in connection with rooftop aerial

measurement products, including but not limited to the Accused Products.

        81.   Nearmap makes and uses rooftop aerial measurement products,

including but not limited to the Accused Products, within the United States, and as



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such, Nearmap has directly infringed and continues to directly infringe, either

literally or under the doctrine of equivalents, at least one claim of the ’518 Patent

under one or more subsections of 35 U.S.C. § 271, including § 271(a).

      82.    Claim 1 of the ’518 Patent recites:

         A sequence of instructions stored on at least one non-transitory
      computer readable medium for running on a computer system capable of
      displaying and navigating oblique imagery, comprising:

         instructions for displaying a pixel representation of a primary oblique
      image depicting a first area, the primary oblique image being part of a
      set of adjacent oblique images that partially, but not completely, overlap
      and represent an area of interest;

         instructions for panning within the primary oblique image, the
      primary oblique image including overlapping data;

         instructions for detecting a transition event, triggered by a user, of the
      displayed primary oblique image;

         instructions for selecting at least one adjacent secondary oblique
      image depicting a second area partially overlapping with the first area
      and from the set of oblique images corresponding to a supplied location
      coordinate, the second area extending beyond the first area; and

         instructions for displaying the primary oblique image and the at least
      one adjacent secondary oblique image on a same display such that
      features in the adjacent primary and secondary oblique images are
      aligned on the same display;

         wherein the primary and secondary oblique images match the
      perspectives from which the primary and secondary oblique images were
      captured.

   83.       Nearmap’s Accused Products infringe at least claim 1 of the ’518


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Patent. As one example, MapBrowser infringes claim 1.
   84.        MapBrowser includes a sequence of instructions stored on a non-
transitory computer readable medium for running on a computer system capable of
displaying and navigating oblique imagery. Additionally, MapBrowser includes
instructions for displaying a pixel representation of a primary oblique image
depicting a first area, the primary oblique image being part of a set of adjacent
oblique images that partially, but not completely, overlap and represent an area of
interest, as shown, for example, in the user interface for MapBrowser 3D below:




See https://www.youtube.com/watch?v=ZM5HM_kCUF4 (MapBrowser 3D).
       85.    MapBrowser includes instructions for panning within the primary

oblique image, the primary oblique image including overlapping data. For example,

a user can grab the screen and rotate to different angles (e.g., to the left and the right,

or up and down).

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       86.    MapBrowser includes instructions for detecting a transition event,

triggered by a user, of the displayed primary oblique image. For example, when the

user rotates a certain number of degrees to the left, right, up, or down, a transition

event is detected. For example, the same YouTube video of a user in Nearmap 3D

shows that the view provided by the images needs to be re-loaded at a certain point

in the rotation:




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      87.    MapBrowser includes instructions for selecting at least one adjacent

secondary oblique image depicting a second area partially overlapping with the first

area and from the set of oblique images corresponding to a supplied location

coordinate, the second area extending beyond the first area. On information and

belief, this is the case based on the new images loaded in the video at 2:18 versus

2:10, while the same picture of the building of interest (with the green line showing

height) remains displayed.

      88.    MapBrowser includes instructions for displaying the primary oblique

image and the at least one adjacent secondary oblique image on a same display such

that features in the adjacent primary and secondary oblique images are aligned on

the same display. For example, common features of the building of interest are

visible in the view from multiple different angles, such that the first and second

oblique images are adjacent and aligned on the same display.

      89.    In MapBrowser, the primary and secondary oblique images match the

perspectives from which the primary and secondary oblique images were captured.

For example, Nearmap records the perspectives (e.g., angles, height) from which its

aerial images were taken. Thus, on information and belief, the primary and

secondary oblique images displayed match the perspectives from which they were

captured:


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See Ex. 12.

      90.     As another example, Nearmap explains that users can click between

different views of aerial images within MapBrowser:




See Ex. 17.
      91.     On information and belief, Nearmap has had knowledge of the ’518

Patent prior to the filing of the instant complaint. For example, Nearmap would have

been aware of the substantial press coverage of EagleView’s patent portfolio as it


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relates to roof reports, which includes the ’518 Patent, in light of EagleView’s recent

successful litigation against Xactware Solutions, Inc. and Verisk Analytics, Inc. in

the District of New Jersey. See, e.g., Ex. 27.

      92.    In addition to directly infringing the ’518 Patent, Nearmap has in the

past and continues to indirectly infringe the ’518 Patent by inducing direct

infringement by others, such as end users of rooftop aerial measurement products,

including but not limited to the Accused Products. As set forth above, Nearmap

knew or should have known that use of rooftop aerial measurement products,

including but not limited to the Accused Products, by its end users infringes at least

one claim of the ’518 Patent prior to the filing of the instant complaint. Nearmap

knowingly induced such use of those products in a manner that infringes the ’518

Patent, including through at least promotional, advertising, and instructional

materials, and Nearmap had the requisite intent to encourage such infringement. As

such, Nearmap has indirectly infringed and continues to indirectly infringe at least

one claim of the ’518 Patent under one or more subsections of 35 U.S.C. § 271,

including § 271(b).

      93.    Nearmap’s infringement of the ’518 Patent has been and continues to

be willful. Nearmap has acted with knowledge of the ’518 Patent and without a

reasonable basis for a good-faith belief that it would not be liable for infringement


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of the ’518 Patent. For example, subsequent to learning of the ’518 Patent, Nearmap

continued to make and use rooftop aerial measurement products, including but not

limited to the Accused Products, within the United States in a manner that infringes

the ’518 Patent.     Nearmap has disregarded and continues to disregard its

infringement and/or an objectively high likelihood that its actions constitute

infringement of the ’518 Patent. This objectively-defined risk was known or is so

obvious that it should have been known to Nearmap. Nearmap’s infringement of the

’518 Patent has been and continues to be willful, entitling Pictometry to enhanced

damages under 35 U.S.C. § 284.

      94.    Nearmap’s acts of infringement have caused damage to Pictometry, and

Pictometry is entitled to recover from Nearmap the damages sustained by Pictometry

as a result of Nearmap’s wrongful acts in an amount subject to proof at trial.

      95.    Nearmap’s acts of infringement have caused, and unless restrained and

enjoined, will continue to cause, irreparable injury and damage to Pictometry for

which there is no adequate remedy at law.

      96.    This case is exceptional, entitling Pictometry to an award of attorneys’

fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

  COUNT IV - INFRINGEMENT OF THE ’961 PATENT BY NEARMAP

      97.    Plaintiffs reallege paragraphs 1-96 as if fully set forth herein.



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      98.    The USPTO duly and legally issued the ’961 Patent on March 11, 2014.

      99.    Nearmap has directly and indirectly infringed and continues to directly

and indirectly infringe the ’961 Patent, in connection with rooftop aerial

measurement products, including but not limited to the Accused Products.

      100. Nearmap makes and uses rooftop aerial measurement products,

including but not limited to the Accused Products, within the United States, and as

such, Nearmap has directly infringed and continues to directly infringe, either

literally or under the doctrine of equivalents, at least one claim of the ’961 Patent

under one or more subsections of 35 U.S.C. § 271, including § 271(a).

      101. Claim 1 of the ’961 Patent recites:

     A computing system for generating a roof report, the computing system
   comprising:

      a memory; and

      a roof estimation module that includes a calibration module, the roof
   estimation module being stored on the memory and being configured, when
   executed, to:

      receive a plurality of aerial images of a building having a roof, the
   plurality of aerial images having been taken independent of each other, at
   different times and on different dates, the aerial images providing different
   views from each other of the roof of the building, the plurality of aerial
   images including at least a first aerial image that is a top plan view of the
   roof and a second aerial image that is an oblique perspective view of the roof
   wherein at least one of the first and/or second aerial images is calibrated
   using calibration information received from the calibration module;


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      perform image analysis on at least two of the plurality of aerial images;

      calculate a pitch for each one of a plurality of roof sections of the roof
   based on the image analysis;

      generate a roof report that includes the pitch of each of the plurality of
   roof sections based on the calculated pitch; and

      output the roof report, wherein the roof report includes one or more top
   plan views of a model of the roof annotated with numerical values that
   indicate a corresponding pitch, area, and length of edges of at least some of
   the plurality of roof sections using at least two different indicia for different
   types of roof properties.

   102.     Nearmap’s Accused Products infringe at least claim 1 of the ’961
Patent. As one example, Nearmap on OpenSolar infringes claim 1.
      103. Nearmap on OpenSolar include a computing system for generating a

roof report. For example, as shown in the YouTube tutorial for Nearmap on

OpenSolar, the method of generating a roof report is computer implemented:




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See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar).

104.          Nearmap on OpenSolar generates a roof estimate report, called a

“proposal”:




See https://www.nearmap.com/content/dam/nearmap/video/nearmap-on-

opensolar/announcing-nearmap-on-opensolar.mp4 (Nearmap on OpenSolar).

       105. The computing system of Nearmap on OpenSolar includes a memory.

For example, projects can be saved and stored to return to later:




See Ex. 18 (Nearmap on OpenSolar).

       106. Nearmap on OpenSolar includes a roof estimation module that includes

a calibration module stored on the memory. When executed, the roof estimation

module receives a plurality of aerial images of a building having a roof, the plurality


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of aerial images having been taken independent of each other, at different times and

on different dates, the aerial images providing different views from each other of the

roof of the building. For example, Nearmap on OpenSolar uses Nearmap’s vertical

and oblique imagery, and Nearmap explains that it can take “several days and

multiple flights” to complete a survey of a particular area, and that aerial images of

the same location may have been taken on different dates:




See Ex. 18 (Nearmap on OpenSolar).




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See Ex. 19.
      107. Nearmap on OpenSolar shows the user the dates for which images of

the same location are available, as shown on the left in the screenshot below:




See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar).
      108. Nearmap on OpenSolar receives a first aerial image that is a top plan

view of the roof and a second aerial image that is an oblique perspective view of the


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roof wherein at least one of the first and/or second aerial images is calibrated using

calibration information received from the calibration module. The first and second

aerial images are shown in the screenshots below, and they are calibrated using the

geolocation and other data (such as height and angle) associated with them:




See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar).


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      109. Nearmap on OpenSolar performs image analysis on at least two of the

plurality of aerial images.   The image analysis includes, for example, using

information about the location, angle, and height from which different aerial images

were taken (including, e.g., georeferencing), and correlating features in one image

to the same features in another image:




See Ex. 12.

      110. In Nearmap on OpenSolar, a user can also manually facilitate image

analysis through the roof estimation module. For example, the user can help

determine pitch, by placing a pitch determination marker (e.g., the yellow bar

below).


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See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar).

      111. Nearmap on OpenSolar calculates a pitch (e.g., “roof slope”) for each

one of a plurality of roof sections of the roof based on the image analysis, as shown

above, as well as in the following screenshots from Nearmap on OpenSolar:



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See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar)
at 3:24-28.




See Ex. 18 (Nearmap on OpenSolar).

      112. Nearmap on OpenSolar generates a roof report that includes the pitch

of each of the plurality of roof sections based on the calculated pitch:




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See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar)
at 3:24-28.

       113. Nearmap on OpenSolar outputs the roof report that includes one or

more top plan views of a model of the roof annotated with numerical values that

indicate a corresponding pitch, area, and length of edges of at least some roof

sections using at least two different indicia for different types of roof properties (such



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as different colors of lines):




See

https://docs.nearmap.com/display/TUT/Module+3%3A+Design+with+Nearmap+o

n+OpenSolar (Nearmap on OpenSolar).

      114.    On information and belief, Nearmap has had knowledge of the ’961
Patent prior to the filing of the instant complaint, including because the ’961 Patent
is identified on EagleView’s website and roof reports as covering EagleView’s
technology and roof reports. Nearmap’s product is remarkably similar to, and
appears to have been copied from, EagleView’s technology and roof reports,
confirming that Nearmap monitors EagleView’s website, products, roof reports, and
patents. See, e.g., Ex. 26. Additionally, Nearmap would have been aware of the
substantial press coverage of EagleView’s patent portfolio as it relates to roof
reports, which includes the ’961 Patent, in light of EagleView’s recent successful



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litigation against Xactware Solutions, Inc. and Verisk Analytics, Inc. in the District
of New Jersey. See, e.g., Ex. 27.
      115. In addition to directly infringing the ’961 Patent, Nearmap has in the

past and continues to indirectly infringe the ’961 Patent by inducing direct

infringement by others, such as end users of rooftop aerial measurement products,

including but not limited to the Accused Products. As set forth above, Nearmap

knew or should have known that use of rooftop aerial measurement products,

including but not limited to the Accused Products, by its end users infringes at least

one claim of the ’961 Patent prior to the filing of the instant complaint. Nearmap

knowingly induced such use of those products in a manner that infringes the ’961

Patent, including through at least promotional, advertising, and instructional

materials, and Nearmap had the requisite intent to encourage such infringement. As

such, Nearmap has indirectly infringed and continues to indirectly infringe at least

one claim of the ’961 Patent under one or more subsections of 35 U.S.C. § 271,

including § 271(b).

      116. Nearmap’s infringement of the ’961 Patent has been and continues to

be willful. Nearmap has acted with knowledge of the ’961 Patent and without a

reasonable basis for a good-faith belief that it would not be liable for infringement

of the ’961 Patent. For example, subsequent to learning of the ’961 Patent, Nearmap



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continued to make and use rooftop aerial measurement products, including but not

limited to the Accused Products, within the United States in a manner that infringes

the ’961 Patent.       Nearmap has disregarded and continues to disregard its

infringement and/or an objectively high likelihood that its actions constitute

infringement of the ’961 Patent. This objectively-defined risk was known or is so

obvious that it should have been known to Nearmap. Nearmap’s infringement of the

’961 Patent has been and continues to be willful, entitling EagleView to enhanced

damages under 35 U.S.C. § 284.

         117. Nearmap’s acts of infringement have caused damage to EagleView, and

EagleView is entitled to recover from Nearmap the damages sustained by

EagleView as a result of Nearmap’s wrongful acts in an amount subject to proof at

trial.

         118. Nearmap’s acts of infringement have caused, and unless restrained and

enjoined, will continue to cause, irreparable injury and damage to EagleView for

which there is no adequate remedy at law.

         119. This case is exceptional, entitling EagleView to an award of attorneys’

fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

    COUNT V - INFRINGEMENT OF THE ’737 PATENT BY NEARMAP

         120. Plaintiffs reallege paragraphs 1-119 as if fully set forth herein.



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        121. The USPTO duly and legally issued the ’737 Patent on September 15,

2015.

        122. Nearmap has directly and indirectly infringed and continues to directly

and indirectly infringe the ’737 Patent, in connection with rooftop aerial

measurement products, including but not limited to the Accused Products.

        123. Nearmap uses rooftop aerial measurement products, including but not

limited to the Accused Products, within the United States, and as such, Nearmap has

directly infringed and continues to directly infringe, either literally or under the

doctrine of equivalents, at least one claim of the ’737 Patent under one or more

subsections of 35 U.S.C. § 271, including § 271(a).

        124. Claim 1 of the ’737 Patent recites:

           A computer-implemented method in a roof estimate report system
        including at least one processor and a memory coupled to the at least one
        processor, the method comprising:

           displaying, by the at least one processor of the roof estimate report
        system, a plurality of aerial images of a roof at the same time, each of the
        aerial images providing a different view, taken from a different angle of
        the same roof;

           displaying, by the at least one processor of the roof estimate report
        system, respective line drawings representing features of the roof, the
        respective line drawings overlying a first and a second aerial image of the
        plurality of aerial images of the roof, the line drawing overlying the first
        aerial image of the roof having features in common with the line drawing
        overlying the second aerial image of the roof;


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         in response to user input, changing, by the at least one processor of the
      roof estimate report system, the line drawing representing a feature of
      the roof that overlies the first aerial image of the roof;

         in response to the changing, making corresponding changes, by the at
      least one processor of the roof estimate report system, to the line drawing
      overlying the second aerial image; and

         generating and outputting a roof estimate report using a report
      generation engine, wherein the roof estimate report includes numerical
      values for corresponding slope, area, or lengths of edges of at least some
      of a plurality of planar roof sections of the roof, wherein the generated
      roof estimate report is provided for repair and/or constructing the roof
      structure of the building.

   125.      Nearmap’s Accused Products infringe at least claim 1 of the ’737
Patent, including by Nearmap’s use of the Accused Products to perform the claimed
method. As one example, MapBrowser infringes claim 1.
      126. MapBrowser includes a computer-implemented method in a roof

estimate report system including at least one processor and a memory coupled to the

at least one processor. For example, as shown below, the method of generating a

roof estimate report is computer-implemented, and a memory allows projects to be

saved and returned to later:




                                      56
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See https://www.youtube.com/watch?v=6ijdjzQ_at0 (MapBrowser).

      127. MapBrowser displays, by the at least one processor of the roof estimate

report system, a plurality of aerial images of a roof at the same time, each of the

aerial images providing a different view and taken from a different angle of the same

roof. For example, in the MapBrowser interface (which uses Nearmap’s oblique

imagery, as described in the first screenshot below), a plurality of aerial images of a

roof are displayed at the same time (as shown in the second screenshot below):




See Ex. 16 (MapBrowser is “a web-based application for searching and navigating

Nearmap’s library of current and historical aerial photos.”).


                                        57
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See Ex. 16.

      128. Below is another example in which MapBrowser displays a plurality of

aerial images of the same roof from different angles at the same time:




                                       58
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See https://www.youtube.com/watch?v=zMFjaQIci9s&t=216s (MapBrowser).

      129. MapBrowser displays, by the at least one processor of the roof estimate

report system, respective line drawings representing features of the roof, the

respective line drawings overlying a first and a second aerial image of the plurality

of aerial images of the roof, the line drawing overlying the first aerial image of the

roof having features in common with the line drawing overlying the second aerial

image of the roof:




                                        59
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See Ex. 16 (MapBrowser using Nearmap’s oblique imagery).

      130. As another example, a line representing a hip of the roof is displayed

overlaying two different aerial images taken from different angles (e.g., in the

“primary view” and “secondary view”):




                                     60
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See https://www.youtube.com/watch?v=zMFjaQIci9s&t=216s (MapBrowser).

      131. In response to user input, MapBrowser changes, by the at least one

processor of the roof estimate report system, the line drawing representing a feature

of the roof that overlies the first aerial image of the roof, and in response to the


                                       61
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changing, MapBrowser makes corresponding changes, by the at least one processor

of the roof estimate report system, to the line drawing overlying the second aerial

image. For example, as shown above, after a user identified a particular roof hip on

one aerial image in MapBrowser, a roof hip line appears in a second view after the

user clicks on the alternative image, which constitutes MapBrowser making

corresponding changes. A user may need to re-adjust the roof hip line that has

appeared in the second view.

      132. MapBrowser generates and outputs a roof estimate report using a report

generation engine, wherein the roof estimate report includes numerical values for

corresponding slope, area, or lengths of edges of at least some of a plurality of planar

roof sections of the roof:




                                        62
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See https://www.youtube.com/watch?v=zMFjaQIci9s&t=216s (MapBrowser).

      133. As another example, “Projects” can be saved, and contain the generated

and outputted roof estimate report:




See https://www.youtube.com/watch?v=6ijdjzQ_at0 (MapBrowser).

      134. The generated roof estimate report from MapBrowser is provided for

repair and/or constructing the roof structure of the building:




See Ex. 20.




                                        63
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See Ex. 21.

   135.       On information and belief, Nearmap has had knowledge of the ’737
Patent prior to the filing of the instant complaint because Nearmap would have been
aware of the substantial press coverage of EagleView’s patent portfolio as it relates
to roof reports, which includes the ’737 Patent, in light of EagleView’s recent
successful litigation against Xactware Solutions, Inc. and Verisk Analytics, Inc. in
the District of New Jersey. See, e.g., Ex. 27.
      136. In addition to directly infringing the ’737 Patent, Nearmap has in the

past and continues to indirectly infringe the ’737 Patent by inducing direct

infringement by others, such as end users of rooftop aerial measurement products,

including but not limited to the Accused Products. As set forth above, Nearmap

knew or should have known that use of rooftop aerial measurement products,

including but not limited to the Accused Products, by its end users infringes at least

one claim of the ’737 Patent prior the filing of the instant complaint. Nearmap

knowingly induced such use of those products in a manner that infringes the ’737


                                        64
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Patent, including through at least promotional, advertising, and instructional

materials, and Nearmap had the requisite intent to encourage such infringement. As

such, Nearmap has indirectly infringed and continues to indirectly infringe at least

one claim of the ’737 Patent under one or more subsections of 35 U.S.C. § 271,

including § 271(b).

         137. Nearmap’s infringement of the ’737 Patent has been and continues to

be willful. Nearmap has acted with knowledge of the ’737 Patent and without a

reasonable basis for a good-faith belief that it would not be liable for infringement

of the ’737 Patent. For example, subsequent to learning of the ’737 Patent, Nearmap

continued to use rooftop aerial measurement products, including but not limited to

the Accused Products, within the United States in a manner that infringes the ’737

Patent. Nearmap has disregarded and continues to disregard its infringement and/or

an objectively high likelihood that its actions constitute infringement of the ’737

Patent. This objectively-defined risk was known or is so obvious that it should have

been known to Nearmap. Nearmap’s infringement of the ’737 Patent has been and

continues to be willful, entitling EagleView to enhanced damages under 35 U.S.C.

§ 284.

         138. Nearmap’s acts of infringement have caused damage to EagleView, and

EagleView is entitled to recover from Nearmap the damages sustained by


                                       65
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EagleView as a result of Nearmap’s wrongful acts in an amount subject to proof at

trial.

         139. Nearmap’s acts of infringement have caused, and unless restrained and

enjoined, will continue to cause, irreparable injury and damage to EagleView for

which there is no adequate remedy at law.

         140. This case is exceptional, entitling EagleView to an award of attorneys’

fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

               COUNT VI - INFRINGEMENT OF THE ’568 PATENT BY

                                      NEARMAP

         141. Plaintiffs reallege paragraphs 1-140 as if fully set forth herein.

         142. The USPTO duly and legally issued the ’568 Patent on December 6,

2016.

         143. Nearmap has directly and indirectly infringed and continues to directly

and indirectly infringe the ’568 Patent, in connection with rooftop aerial

measurement products, including but not limited to the Accused Products.

         144. Nearmap makes and uses rooftop aerial measurement products,

including but not limited to the Accused Products, within the United States, and as

such, Nearmap has directly infringed and continues to directly infringe, either

literally or under the doctrine of equivalents, at least one claim of the ’568 Patent



                                          66
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under one or more subsections of 35 U.S.C. § 271, including § 271(a).

      145. Claim 1 of the ’568 Patent recites:

         A computer-implemented method for generating a roof estimate
      report, the method comprising:

         receiving a request for a roof estimate report for a roof of a building;

         receiving location information regarding the building having the roof;

         receiving a first aerial image of the building having the roof;

          receiving a second aerial image of the building having the roof, the
      first and second aerial images of the building having been taken
      independent of each other, the first and second aerial images of the
      building providing different views of the roof from each other, the first
      aerial image of the building including a top plan view of the roof and the
      second aerial image of the building including an oblique perspective view
      of the roof;

         calibrating at least one of the first and second aerial images of the
      building using calibration information received from a calibration
      module;

          performing image analysis on the first and second aerial images of the
      building by correlating the first aerial image of the building with the
      second aerial image of the building, the correlating including registering
      pairs of points on the first and second aerial images of the building, each
      pair of points corresponding to a same point on the roof depicted in each
      of the first and second aerial images of the building;

         generating, based at least in part on the correlation of the first and
      second aerial images of the building, a three-dimensional model of the
      roof that includes a plurality of planar roof sections that each have a
      corresponding pitch, area, and edges;

         determining a pitch of a plurality of sections of the roof;

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          determining a direction of the pitch for each of the plurality of sections
      of the roof for which a pitch was determined;

         generating a roof estimate report that includes at least one top plan
      view of the three-dimensional model annotated with numerical
      indications of the determined pitch and the direction of the pitch;

           determining a ridge line and a valley line of the roof;

         displaying, on at least one top plan view of the three-dimensional
      model included in the roof estimate report, a ridge line in which a
      property of the ridge line being a ridge line is conveyed by the ridge line
      being displayed in a first color;

         displaying, on at least one top plan view of the three-dimensional
      model included in the roof estimate report, a valley line in which a
      property of the valley line being a valley line is conveyed by the valley line
      being a second color different from the first color; and

           transmitting the generated roof report.

   146.       Nearmap’s Accused Products infringe at least claim 1 of the ’568
Patent, including by Nearmap’s use of the Accused Products to perform the claimed
method. As one example, Nearmap on OpenSolar infringes claim 1.
   147.       As described in Paragraphs 43-44, supra, Nearmap on OpenSolar
includes a computer-implemented method for generating a roof estimate report.
   148.       Nearmap on OpenSolar receives a request for a roof estimate report for
a roof of a building and receives location information regarding a building having
the roof (such as through a user inputting address information in the upper left
corner):



                                       68
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See https://www.youtube.com/watch?v=CUh664Wj3JY (Nearmap on OpenSolar).
   149.       As described in Paragraph 45, supra, Nearmap on OpenSolar receives
a first aerial image of the building having the roof, and receives a second aerial image
of the building having a roof. This is also shown in the bottom left corner, where
“Nearmap Source Imagery” is received for vertical, northeast, southeast, southwest,
and northwest views:




                                        69
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See https://www.youtube.com/watch?v=CUh664Wj3JY (Nearmap on OpenSolar).
   150.       In Nearmap on OpenSolar, the first and second aerial images of the
building have been taken independent of each other, the first and second aerial
images of the building provide different views of the roof from each other, the first
aerial image of the building includes a top plan view of the roof and the second aerial
image of the building includes an oblique perspective view of the roof, as shown in
the image above.
   151.       Additionally, Nearmap describes how it “regularly flies 2-3 times per
year” to obtain more aerial images, which are used in Nearmap on OpenSolar:




See Ex. 22.

   152.       Nearmap on OpenSolar calibrates at least one of the first and second


                                        70
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aerial images of the building using calibration information received from a
calibration module. For example, aerial images are calibrated using information
about the angles and height from which they were taken.
   153.      Nearmap on OpenSolar performs image analysis on the first and second
aerial images of the building by correlating the first aerial image of the building with
the second aerial image of the building, the correlating including registering pairs of
points on the first and second aerial images of the building, each pair of points
corresponding to a same point on the roof depicted in each of the first and second
aerial images of the building. For example, Nearmap on OpenSolar instructs users
to manually correlate the roof edges first in vertical view, and then align them to
correlate in the oblique view. This process includes registering pairs of points in the
two aerial images that correspond to the same roof points in both images:




See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar)
at 1:45, 2:45.

   154.      Nearmap on OpenSolar generates, based at least in part on the
correlation of the first and second aerial images of the building, a three-dimensional
model of the roof that includes a plurality of planar roof sections that each have a
corresponding pitch, area, and edges:


                                        71
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See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar) at
4:19, 3:03.
   155.       Nearmap on OpenSolar determines a pitch of a plurality of sections of
the roof, determines a direction of the pitch for each of the plurality of sections of
the roof for which a pitch was determined, and generates a roof estimate report that
includes at least one top plan view of the three-dimensional model annotated with
numerical indications of the determined pitch and the direction of the pitch. For
example, Nearmap on OpenSolar determines the pitch for a plurality of roof sections,
such as through a pitch determination marker; based on the pitch determination
marker, Nearmap on OpenSolar indicates the pitch, or “slope,” of the planar roof
section:




                                        72
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See Ex. 18 (Nearmap on OpenSolar).




See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar) at

3:24-28.

   156.      As shown below, Nearmap on OpenSolar determines a direction of the
pitch for each of the roof sections for which a pitch was determined, as indicated by
the green arrows showing the direction of the pitch:




                                       73
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See https://www.youtube.com/watch?v=CUh664Wj3JY (Nearmap on OpenSolar).

   157.      Additionally, on information and belief, the direction of pitch must
necessarily have been determined because the customer needs to know which
direction the solar panels will face in order to calculate power and efficiency; if the
pitch in the above photo was inverted, the solar panels would yield entirely different
results not consistent with the rest of the report, which calculates system
performance (that depends, inter alia, on roof pitch):




                                        74
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See https://www.youtube.com/watch?v=CUh664Wj3JY (Nearmap on OpenSolar).
   158.     Nearmap on OpenSolar determines a ridge line and a valley line of the
roof, shown in the outlines below:




See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar)
at 4:20.

   159.     Nearmap on OpenSolar displays, on at least one top plan view of the
three-dimensional model included in the roof estimate report, a ridge line in which



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a property of the ridge line being a ridge line is conveyed by the ridge line being
displayed in a first color (e.g., yellow) and displays, on at least one top plan view of
the three-dimensional model included in the roof estimate report, a valley line in
which a property of the valley line being a valley line is conveyed by the valley line
being a second color different from the first color (e.g., green), as shown above.
      160.   As another example, in a top plan view of the 3D model, ridge lines and
valley lines are indicated by different colors:




See

https://docs.nearmap.com/display/TUT/Module+3%3A+Design+with+Nearmap+o

n+OpenSolar (Nearmap on OpenSolar).

      161.   Nearmap on OpenSolar transmits the generated roof report, for example
on or through a computer:




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See Ex. 23.

   162.       On information and belief, Nearmap has had knowledge of the ’568
Patent prior to the filing of the instant complaint, including because the ’568 Patent
is identified on EagleView’s website and roof reports as covering EagleView’s
technology and roof reports. Nearmap’s product is remarkably similar to, and
appears to have been copied from, EagleView’s technology and roof reports,
confirming that Nearmap monitors EagleView’s website, products, roof reports, and
patents. See, e.g., Ex. 26. Additionally, Nearmap would have been aware of the
substantial press coverage of EagleView’s patent portfolio as it relates to roof
reports, which includes the ’568 Patent, in light of EagleView’s recent successful
litigation against Xactware Solutions, Inc. and Verisk Analytics, Inc. in the District
of New Jersey. See, e.g., Ex. 27.
      163. In addition to directly infringing the ’568 Patent, Nearmap has in the

past and continues to indirectly infringe the ’568 Patent by inducing direct

infringement by others, such as end users of rooftop aerial measurement products,

including but not limited to the Accused Products. As set forth above, Nearmap


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knew or should have known that use of rooftop aerial measurement products,

including but not limited to the Accused Products, by its end users infringes at least

one claim of the ’568 Patent prior to the filing of the instant complaint. Nearmap

knowingly induced such use of those products in a manner that infringes the ’880

Patent, including through at least promotional, advertising, and instructional

materials, and Nearmap had the requisite intent to encourage such infringement. As

such, Nearmap has indirectly infringed and continues to indirectly infringe at least

one claim of the ’568 Patent under one or more subsections of 35 U.S.C. § 271,

including § 271(b).

      164. Nearmap’s infringement of the ’568 Patent has been and continues to

be willful. Nearmap has acted with knowledge of the ’568 Patent and without a

reasonable basis for a good-faith belief that it would not be liable for infringement

of the ’568 Patent. For example, subsequent to learning of the ’568 Patent, Nearmap

continued to make and use rooftop aerial measurement products, including but not

limited to the Accused Products, within the United States in a manner that infringes

the ’568 Patent. Nearmap has disregarded and continues to disregard its infringement

and/or an objectively high likelihood that its actions constitute infringement of the

’568 Patent. This objectively-defined risk was known or is so obvious that it should

have been known to Nearmap. Nearmap’s infringement of the ’568 Patent has been


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and continues to be willful, entitling Pictometry to enhanced damages under 35

U.S.C. § 284.

         165. Nearmap’s acts of infringement have caused damage to EagleView, and

EagleView is entitled to recover from Nearmap the damages sustained by

EagleView as a result of Nearmap’s wrongful acts in an amount subject to proof at

trial.

         166. Nearmap’s acts of infringement have caused, and unless restrained and

enjoined, will continue to cause, irreparable injury and damage to EagleView for

which there is no adequate remedy at law.

         167. This case is exceptional, entitling EagleView to an award of attorneys’

fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

  COUNT VII - INFRINGEMENT OF THE ’960 PATENT BY NEARMAP

         168. Plaintiffs reallege paragraphs 1-167 as if fully set forth herein.

         169. The USPTO duly and legally issued the ’960 Patent on January 7, 2020.

         170. Nearmap has directly and indirectly infringed and continues to directly

and indirectly infringe the ’960 Patent, in connection with rooftop aerial

measurement products, including but not limited to the Accused Products.

         171. Nearmap makes and uses rooftop aerial measurement products,

including but not limited to the Accused Products, within the United States, and as



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such, Nearmap has directly infringed and continues to directly infringe, either

literally or under the doctrine of equivalents, at least one claim of the ’960 Patent

under one or more subsections of 35 U.S.C. § 271, including § 271(a).

      172. Claim 1 of the ’960 Patent recites:

         A process comprising:

          receiving, by at least one computer processor that includes a
      calibration module stored in a non-transitory memory coupled to the at
      least one processor, a plurality of aerial image fields of a building having
      a roof including a first aerial image file taken from a first viewpoint of
      the building a second aerial image filed taken from a second viewpoint of
      the building different than the first viewpoint, wherein at least one of the
      first aerial image file and the second aerial image file has calibration
      information associated with the at least one of the first aerial image file
      and the second aerial image file;

        determining, by any of the at least one computer processor, a pitch
      and an area of one or more roof sections of the roof based on an image
      analysis performed on the plurality of aerial image files, wherein the
      image analysis comprises:

         constructing a three dimensional model of one or more roof sections
      by:

         calibrating at least one of the first and second aerial image files using
      the calibration information associated with the at least one of the first
      aerial image file and the second aerial image file to convert a distance in
      pixels between two points on the respective aerial image file into a
      physical length;

        identifying common reference points depicted in at least the first aerial
      image file and the second aerial image file;

         identifying, for all such reference points, a location in three-

                                       80
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      dimensional space by triangulating the reference points by projecting a
      first line originating from the first viewpoint through one of the reference
      points and a second line originating from the second viewpoint through
      the same reference point and determining an intersection of the first and
      second lines; and

         determining physical length between at least two of the reference
      points in three-dimensional space based at least in part on the calibration;

         generating, by any of the at least one computer processor a roof report
      that includes the pitch and the area of the one or more roof sections based
      on the determined pitch and area of the one or more roof sections wherein
      the roof report is useful as a guide to repair or replace the roof of the
      building, where in the pitch is indicative of a vertical rise of a roof section
      over a horizontal run of the roof section; and

          outputting the roof report having the determined pitch therein.

       173. Nearmap’s Accused Products infringe at least claim 1 of the ’960

Patent. As one example, Nearmap on OpenSolar infringes claim 1.

       174. As described in Paragraphs 105-109, supra, NearMap on OpenSolar

comprises a process in which it receives, by at least one computer processor that

includes a calibration module stored in a non-transitory memory coupled to the at

least one processor, a plurality of aerial image fields of a building having a roof

including a first aerial image file taken from a first viewpoint of the building a second

aerial image filed taken from a second viewpoint of the building different than the

first viewpoint, wherein at least one of the first aerial image file and the second aerial

image file has calibration information associated with the at least one of the first


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aerial image file and the second aerial image file.

       175. The calibration information associated with the aerial images includes,

for example, the geolocation and other data (such as height and angle) associated

with them. For example, Nearmap records the perspectives (e.g., angles, height)

from which its aerial images were taken:




See Ex. 12.

       176. As described in Paragraphs 105-111, supra, Nearmap on OpenSolar

determines, by any of the at least one computer processor, a pitch and an area of one

or more roof sections of the roof based on an image analysis performed on the

plurality of aerial image files.



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       177. As described in Paragraphs 105-111, supra, in Nearmap on OpenSolar,

the image analysis comprises constructing a three dimensional model of one or more

roof sections by calibrating at least one of the first and second aerial image files

using the calibration information associated with the at least one of the first aerial

image file and the second aerial image file to convert a distance in pixels between

two points on the respective aerial image file into a physical length; identifying

common reference points depicted in at least the first aerial image file and the second

aerial image file; identifying, for all such reference points, a location in three-

dimensional space by triangulating the reference points by projecting a first line

originating from the first viewpoint through one of the reference points and a second

line originating from the second viewpoint through the same reference point and

determining an intersection of the first and second lines; and determining physical

length between at least two of the reference points in three-dimensional space based

at least in part on the calibration.

       178. For example, Nearmap technology, which is used in at least some of

Nearmap’s imagery, triangulates the reference points by projecting lines from the

first and second reference points and determining an intersection. For example, the

aerial images can contain “textured mesh,” which is defined as follows:




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See Ex. 24.

   179.       As described in Paragraph 112, supra, Nearmap on OpenSolar

generates, by any of the at least one computer processor a roof report that includes

the pitch and the area of the one or more roof sections based on the determined pitch

and area of the one or more roof sections.

   180.       The roof report generated by Nearmap on OpenSolar is useful as a

guide to repair or replace the roof of the building, where in the pitch is indicative of

a vertical rise of a roof section over a horizontal run of the roof section:




See Ex. 20.




See Ex. 21.



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      181. As described in Paragraphs 112-113, supra, Nearmap on OpenSolar

outputs the roof report having the determined pitch therein.

      182. On information and belief, Nearmap has had knowledge of the ’960

Patent prior to the filing of the instant complaint, including because the ’960 patent

is a direct continuation of Application No. 12/148,439, now U.S. Pat. No. 8,145,578,

which is identified on EagleView’s website and roof reports as covering

EagleView’s technology and roof reports. Nearmap’s product is remarkably similar

to, and appears to have been copied from, EagleView’s technology and roof reports,

confirming that Nearmap monitors EagleView’s website, products, roof reports, and

patents. See, e.g., Ex. 26. Additionally, Nearmap would have been aware of the

substantial press coverage of EagleView’s patent portfolio as it relates to roof

reports, which includes the ’960 Patent, in light of EagleView’s recent successful

litigation against Xactware Solutions, Inc. and Verisk Analytics, Inc. in the District

of New Jersey. See, e.g., Ex. 27.

      183. In addition to directly infringing the ’960 Patent, Nearmap has in the

past and continues to indirectly infringe the ’960 Patent by inducing direct

infringement by others, such as end users of rooftop aerial measurement products,

including but not limited to the Accused Products. As set forth above, Nearmap

knew or should have known that use of rooftop aerial measurement products,


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including but not limited to the Accused Products, by its end users infringes at least

one claim of the ’960 Patent prior to the filing of the instant complaint. Nearmap

knowingly induced such use of those products in a manner that infringes the ’960

Patent, including through at least promotional, advertising, and instructional

materials, and Nearmap had the requisite intent to encourage such infringement. As

such, Nearmap has indirectly infringed and continues to indirectly infringe at least

one claim of the ’960 Patent under one or more subsections of 35 U.S.C. § 271,

including § 271(b).

      184. Nearmap’s infringement of the ’960 Patent has been and continues to

be willful. Nearmap has acted with knowledge of the ’960 Patent and without a

reasonable basis for a good-faith belief that it would not be liable for infringement

of the ’960 Patent. For example, subsequent to learning of the ’960 Patent, Nearmap

continued to make and use rooftop aerial measurement products, including but not

limited to the Accused Products, within the United States in a manner that infringes

the ’960 Patent.      Nearmap has disregarded and continues to disregard its

infringement and/or an objectively high likelihood that its actions constitute

infringement of the ’960 Patent. This objectively-defined risk was known or is so

obvious that it should have been known to Nearmap. Nearmap’s infringement of the

’960 Patent has been and continues to be willful, entitling EagleView to enhanced


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damages under 35 U.S.C. § 284.

         185. Nearmap’s acts of infringement have caused damage to EagleView, and

EagleView is entitled to recover from Nearmap the damages sustained by

EagleView as a result of Nearmap’s wrongful acts in an amount subject to proof at

trial.

         186. Nearmap’s acts of infringement have caused, and unless restrained and

enjoined, will continue to cause, irreparable injury and damage to EagleView for

which there is no adequate remedy at law.

         187. This case is exceptional, entitling EagleView to an award of attorneys’

fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

  COUNT VIII - INFRINGEMENT OF THE ’149 PATENT BY NEARMAP

         188. Plaintiffs reallege paragraphs 1-187 as if fully set forth herein.

         189. The USPTO duly and legally issued the ’149 Patent on June 16, 2020.

         190. Nearmap has directly and indirectly infringed and continues to directly

and indirectly infringe the ’149 Patent, in connection with rooftop aerial

measurement products, including but not limited to the Accused Products.

         191. Nearmap makes and uses rooftop aerial measurement products,

including but not limited to the Accused Products, within the United States, and as

such, Nearmap has directly infringed and continues to directly infringe, either



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literally or under the doctrine of equivalents, at least one claim of the ’149 Patent

under one or more subsections of 35 U.S.C. § 271, including § 271(a).

      192. Claim 1 of the ’149 Patent recites:

          A computer-implemented method, comprising:

         displaying an aerial image of a building having a roof comprising a
      plurality of planar roof sections that each have a corresponding pitch;

          displaying an interactive user interface control configured to be
      manipulated by an operator to align with a slope of a first planar roof
      section of the plurality of planar roof sections in order to specify pitch of
      the first planar roof section, wherein the interactive user interface control
      is overlaid on the aerial image of the building having the roof;

          receiving, based on alignment of the displayed interactive user
      interface control, an indication of the pitch of the first planar roof section
      of the plurality of planar roof sections of the roof of the building;

         modifying a model of the roof based on the received indication of the
      pitch of the first planar roof section; and

         generating and output a roof estimate report using a report generation
      engine, wherein the roof estimate report includes numerical values
      annotated with corresponding slope, pitches, total area of the roof,
      identification and measurement of ridges and valleys of the roof, different
      elevation views rendered from a 3D model of the roof, and lengths of
      corresponding roof section for each line segment of edges of a plurality of
      planar roof sections of the roof,

         wherein the generated roof estimate report is provided for repair or
      construction of a corresponding roof structure of the building.

   193.      Nearmap’s Accused Products infringe at least claim 1 of the ’149
Patent, including by Nearmap’s use of the Accused Products to perform the claimed


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method. As one example, Nearmap on OpenSolar infringes claim 1.
   194.      As described in Paragraphs 43-51, supra, Nearmap on OpenSolar uses

a computer-implemented method comprising displaying an aerial image of a

building having a roof comprising a plurality of planar roof sections that each have

a corresponding pitch, displaying an interactive user interface control configured to

be manipulated by an operator to align with a slope of a first planar roof section of

the plurality of planar roof sections in order to specify pitch of the first planar roof

section, wherein the interactive user interface control is overlaid on the aerial image

of the building having the roof, and receiving, based on alignment of the displayed

interactive user interface control, an indication of the pitch of the first planar roof

section of the plurality of planar roof sections of the roof of the building.

       195. As described in Paragraphs 43-51, supra, Nearmap on OpenSolar

modifies a model of the roof based on the received indication of the pitch of the first

planar roof section.

       196. This process is further shown in the below depiction of the user

interface of Nearmap on OpenSolar, in which a user can modify the wireframe to

accurately reflect the pitch of the roof section containing the solar panels:




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See https://www.youtube.com/watch?v=5R4tCSnthaw (Nearmap on OpenSolar).

      197. Based on the pitch determination marker, Nearmap on OpenSolar

indicates the pitch, or “slope,” of the planar roof section:




See https://www.youtube.com/watch?v=XDwZniue-TU (Nearmap on OpenSolar)
at 3:24-28.




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See https://www.youtube.com/watch?v=5R4tCSnthaw (Nearmap on OpenSolar).

       198. As described in Paragraphs 112-113, supra, Nearmap on OpenSolar

generates and outputs a roof estimate report using a report generation engine,

wherein the roof estimate report includes numerical values annotated with

corresponding slope, pitches, total area of the roof, identification and measurement

of ridges and valleys of the roof, different elevation views rendered from a 3D model

of the roof, and lengths of corresponding roof section for each line segment of edges

of a plurality of planar roof sections of the roof.

       199. The roof report generated and outputted by Nearmap on OpenSolar is

provided for repair or construction of a corresponding roof structure of the building.

For example, the solar roof report is used for construction of solar panels on the roof

structure of the building.



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      200. On information and belief, Nearmap has had knowledge of the ’149

Patent prior to the filing of the instant complaint. For example, the ’149 patent is a

family member of U.S. Pat. No. 9,129,376, U.S. Pat. No. 8,818,770, and U.S. Pat.

No. 8,170,840, all of which were asserted by EagleView in a recent successful

litigation against Xactware Solutions, Inc. and Verisk Analytics, Inc. in the District

of New Jersey. See, e.g., Ex. 27. Thus, Nearmap would have been aware of the

substantial press coverage of EagleView’s patent portfolio as it relates to roof

reports, which includes the ’149 Patent. Additionally, the ’770 and ’840 Patents,

which are family members of the ’149 Patent, are identified on EagleView’s website

and roof reports as covering EagleView’s technology and roof reports. Nearmap’s

product is remarkably similar to, and appears to have been copied from, EagleView’s

technology and roof reports, confirming that Nearmap monitors EagleView’s

website, products, roof reports, and patents. See, e.g., Ex. 26.

      201. In addition to directly infringing the ’149 Patent, Nearmap has in the

past and continues to indirectly infringe the ’149 Patent by inducing direct

infringement by others, such as end users of rooftop aerial measurement products,

including but not limited to the Accused Products. As set forth above, Nearmap

knew or should have known that use of rooftop aerial measurement products,

including but not limited to the Accused Products, by its end users infringes at least


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one claim of the ’149 Patent prior to the filing of the instant complaint. Nearmap

knowingly induced such use of those products in a manner that infringes the ’149

Patent, including through at least promotional, advertising, and instructional

materials, and Nearmap had the requisite intent to encourage such infringement. As

such, Nearmap has indirectly infringed and continues to indirectly infringe at least

one claim of the ’149 Patent under one or more subsections of 35 U.S.C. § 271,

including § 271(b).

      202. Nearmap's infringement of the ’149 Patent has been and continues to

be willful. Nearmap has acted with knowledge of the ’149 Patent and without a

reasonable basis for a good-faith belief that it would not be liable for infringement

of the ’149 Patent. For example, subsequent to learning of the ’149 Patent, Nearmap

continued to make and use rooftop aerial measurement products, including but not

limited to the Accused Products, within the United States in a manner that infringes

the ’149 Patent.      Nearmap has disregarded and continues to disregard its

infringement and/or an objectively high likelihood that its actions constitute

infringement of the ’149 Patent. This objectively-defined risk was known or is so

obvious that it should have been known to Nearmap. Nearmap’s infringement of the

’149 Patent has been and continues to be willful, entitling EagleView to enhanced

damages under 35 U.S.C. § 284.


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         203. Nearmap’s acts of infringement have caused damage to EagleView, and

EagleView is entitled to recover from Nearmap the damages sustained by

EagleView as a result of Nearmap’s wrongful acts in an amount subject to proof at

trial.

         204. Nearmap’s acts of infringement have caused, and unless restrained and

enjoined, will continue to cause, irreparable injury and damage to EagleView for

which there is no adequate remedy at law.

         205. This case is exceptional, entitling EagleView to an award of attorneys’

fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

                               PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully pray for the following relief:

         A.    For entry of judgment by this Court against Nearmap and in favor of

Plaintiffs in all respects, including that Nearmap has and continues to directly

infringe and/or indirectly infringe, by way of inducement, the ’152, ’880, ’518, ’961,

’737, ’568, ’960, and ’149 Patents;

         B.    For an order permanently enjoining Nearmap, and its officers, directors,

shareholders, agents, servants, employees, attorneys, all parent, subsidiary and

affiliate corporations, their successors in interest and assigns, and all other entities

and individuals acting in concert with it or on its behalf, including customers, from



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making, importing, using, offering for sale, and/or selling any product or service

falling within the scope of any claim of the ’152, ’880, ’518, ’961, ’737, ’568, ’960,

and ’149 Patents, including the Accused Products, or otherwise infringing any claim

of the ’152, ’880, ’518, ’961, ’737, ’568, ’960, and ’149 Patents;

      C.     Alternatively, in the event that an injunction does not issue, that this

Court award a compulsory ongoing future royalty;

      D.     For damages arising from Nearmap’s infringement of the ’152, ’880,

’518, ’961, ’737, ’568, ’960, and ’149 Patents, including lost profits suffered by

Plaintiffs as a result of Nearmap’s infringement and in an amount not less than a

reasonable royalty, together with pre-judgment and post-judgment interest;

      E.     That this Court declare Nearmap’s infringement to be willful and award

increased damages in an amount not less than three times the damages assessed for

Nearmap’s infringement to Plaintiffs for the period of such willful infringement

pursuant to 35 U.S.C. § 284;

      F.     That this Court declare this to be an exceptional case pursuant to 35

U.S.C. § 285 and award Plaintiffs their attorneys’ fees;

      G.     That Plaintiffs be awarded costs of court; and

      H.     For such other and further relief as the Court may deem just and

proper.


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                            DEMAND FOR JURY TRIAL

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs respectfully demand a jury trial

on any and all issues triable as of right by a jury in this action.

       Dated: May 4, 2021          Respectfully submitted,

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                                  INDEX OF EXHIBITS

  1. Exhibit 1 - US 8,209,152
  2. Exhibit 2 - US 8,542,880
  3. Exhibit 3 - US 8,593,518
  4. Exhibit 4 - US 8,670,961
  5. Exhibit 5 - US 9,135,737
  6. Exhibit 6 - US 9,514,568
  7. Exhibit 7 - US 10,528,960
  8. Exhibit 8 - US 10,685,149
  9. Exhibit 9 - 2020-09-09 [901] Opinion Denying New Trial
  10. Exhibit 10 - EagleView One Small Company Reinvents a $30 billion Market
  11. Exhibit 11 - EAGLE EYE - California Business Journal
  12. Exhibit 12 - Accuracy - Product Documentation - Knowledge Hub
  13. Exhibit 13 - 16136585 app. history excerpt - 2019-07-02 IDS
  14. Exhibit 14 - Mapbrowser Cheat Sheet
  15. Exhibit 15 - Location Tool - Product Documentation - Knowledge Hub
  16. Exhibit 16 - Product-Datasheet Oblique
  17. Exhibit 17 – Orthographic View &Aerial Mapping – Nearmap US
  18. Exhibit 18 - Solar Estimation & Prospecting Tools – Nearmap US
  19. Exhibit 19 - Survey Date and Photo Time - Product Documentation - Knowledge
  20. Exhibit 20 - Aerial Location Data and AI for Insurance – Nearmap US
  21. Exhibit 21 – Architecture, Engineering, Construction Maps – Nearmap US
  22. Exhibit 22 - Are You Ready for Better Aerial Imagery
  23. Exhibit 23 – Projects Tool – Product Documentation – Knowledge Hub
  24. Exhibit 24 – GLOSSARY – Product Documentation – Knowledge Hub
  25. Exhibit 25 – Current Maps, Aerial View Map – Contact Nearmap US
  26. Exhibit 26 - Geospatial software, aerial imagery and analytics – EagleView
  27. Exhibit 27 - EagleView's Adventures in IP Earn Co. $375M Enhanced Win
